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                            U NITED S TATES D ISTRICT C OURT
                          S OUTHERN D ISTRICT OF N EW Y ORK

Alisha Kenton


Write the full name of each plaintiff.                                _____CV_______________
                                                                     (Include case number if one has been
                                                                     assigned)

                           -against-
                                                                           COMPLAINT
THE CITY OF NEW YORK
                                                                         Do you want a jury trial?
                                                                             ‫܆‬
                                                                             ✔ Yes    ‫ ܆‬No




Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section II.




                                               NOTICE
   The public can access electronic court files. For privacy and security reasons, papers filed
   with the court should therefore not contain: an individual’s full social security number or full
   birth date; the full name of a person known to be a minor; or a complete financial account
   number. A filing may include only: the last four digits of a social security number; the year of
   an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
   See Federal Rule of Civil Procedure 5.2.




Rev. 1/9/17
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I.    BASIS FOR JURISDICTION
Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.
What is the basis for federal-court jurisdiction in your case?

     ‫ ܆‬Federal Question
     ✔




     ‫ ܆‬Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
Sexual harassment.




 B. If you checked Diversity of Citizenship

         1. Citizenship of the parties

 Of what State is each party a citizen?

 The plaintiff ,                                                      , is a citizen of the State of
                    (Plaintiff’s name)



 (State in which the person resides and intends to remain.)

 or, if not lawfully admitted for permanent residence in the United States, a citizen or
 subject of the foreign state of

                                                                  .
 If more than one plaintiff is named in the complaint, attach additional pages providing
 information for each additional plaintiff.



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 If the defendant is an individual:

 The defendant,                                                        , is a citizen of the State of
                    (Defendant’s name)



 or, if not lawfully admitted for permanent residence in the United States, a citizen or
 subject of the foreign state of

                                                                   .
 If the defendant is a corporation:

 The defendant,                                              , is incorporated under the laws of

 the State of

 and has its principal place of business in the State of

 or is incorporated under the laws of (foreign state)

 and has its principal place of business in                                                             .

 If more than one defendant is named in the complaint, attach additional pages providing
 information for each additional defendant.

II. PARTIES

A. Plaintiff Information
Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Alisha                          N                        Kenton
First Name                      Middle Initial           Last Name

575 Exterior St Apt 715
Street Address
Bronx, Bronx                                     New York                       10451
County, City                                     State                          Zip Code
845-741-5334                                     alisha_kenton2008@yahoo.com
Telephone Number                                 Email Address (if available)



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B. Defendant Information
To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:       N/A                             N/A
                   First Name                      Last Name
                  THE CITY OF NEW YORK
                   Current Job Title (or other identifying information)
                  1 Centre St
                   Current Work Address (or other address where defendant may be served)
                  New York                              NY                   10007
                  County, City                          State                Zip Code

Defendant 2:
                  First Name                     Last Name


                  Current Job Title (or other identifying information)

                  Current Work Address (or other address where defendant may be served)

                  County, City                          State                Zip Code

Defendant 3:
                  First Name                     Last Name


                  Current Job Title (or other identifying information)


                  Current Work Address (or other address where defendant may be served)


                  County, City                          State                Zip Code




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Defendant 4:
                  First Name                     Last Name


                  Current Job Title (or other identifying information)


                  Current Work Address (or other address where defendant may be served)


                  County, City                          State             Zip Code

III. STATEMENT OF CLAIM
Place(s) of occurrence: ELEVATOR - COVID ISOLATION SHELTER - LONG ISLAND CITY, NY


Date(s) of occurrence:   05/22/2021
FACTS:
State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.
I REPORTED SEXUAL HARASSMENT AT A COVID ISOLATION SHELTER IN LONG
ISLAND CITY, NY ON 05/22/2021. THE PERPETRATOR, ANDREW ATKINS,
ENGAGED IN AN EXTENDED AMOUNT OF CASUAL CONVERSATION; BEFORE
FORCIBLY TOUCHING ME TWICE IN TWO SEPARATE INCIDENTS IN THE
ELEVATOR. AFTER REPORTING THE INCIDENT TO A RESIDENTIAL WORKER AND
RECEIVING NO RESPONSE, I THAN CONTACTED LAW ENFORCEMENT AND A
COMPLIANCE HOT-LINE. THE SHELTER'S DIRECTOR, DARA BIBBS, ONLY
SHOWED INTEREST AFTER BECOMING AWARE THAT LAW ENFORCEMENT WAS
CONTACTED. AFTER MEETING WITH MS. BIBBS, AND DISCUSSING THE
INCIDENT, I WAS ADVISED NOT TO TELL ANYONE OUTSIDE OF HER, AND IF
DECIDED TO DISCUSS THE SITUATION WITH ANYONE, TO CONTACT HER
INSTEAD. BIBBS ADVISED ME THAT FOR THE DURATION OF MY STAY, SHE
WOULD MAKE SURE THAT I WOULD NO LONGER COME IN CONTACT WITH
ANDREW ATKINS. HE WAS STILL EMPLOYED AND WORKING REGULAR SHIFTS. I
HAVE NOT BEEN PROVIDED WITH ANY ABUSE HOT-LINE NUMBERS OR
RECOURSES. DESPITE THIS, I FELT EXTREMELY UNCOMFORTABLE KNOWING
THAT MY CONFIDENTIALITY OF MY REPORT WAS BREECHED AS STAFF
MEMBERS DISCUSSED THE SITUATION. MEALS SUDDENLY STOPPED BEING
DELIVERED TO MY DOOR AS WELL AS DAILY WELLNESS CHECKS OR GENERAL
SUPPORT SINCE MAKING THE COMPLAINT.




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I'VE OBSERVED THAT MY CONCERNS HAVEN'T RECEIVED THE ATTENTION I
BELIEVE IT DESERVES, POSSIBLY DUE TO BIASES RELATED TO MY HOUSING
SITUATION. I'M SEEKING FAIR AND UNBIASED TREATMENT, AND I HOPE MY
CONCERNS CAN BE ADDRESSED IMPARTIALLY.
I FEEL THAT THE INVESTIGATION INTO MY COMPLAINT LACKED A FAIR AND
THOROUGH EXAMINATION OF MY PERSPECTIVE. DESPITE BEING A PARTY
INVOLVED, I WASN'T GIVEN AN OPPORTUNITY TO PROVIDE MY SIDE OR
PRESENT ANY EVIDENCE. IT SEEMS THE INVESTIGATION RELIED HEAVILY ON
THE OTHER PARTY'S ACCOUNT, LEADING TO A BIASED OUTCOME. I BELIEVE A
MORE BALANCED AND COMPREHENSIVE APPROACH IS NECESSARY TO
ENSURE A JUST RESOLUTION.
DESPITE THE CURRENT CONCLUSION, I RESPECTFULLY DISSAGREE WITH THE
FINDINGS AND HAVE MADE THE DECISION TO PERSURE THE MATTER FURTHER
NY TAKING IT TO A HIGHER COURT FOR A THOUROUS REVIEW. I BELIEVE IN
THE MERITHS OF MY CLAIM AND ARE COMMITTED TO PURSUING JUSTICE
THROUGH APPROPREIATE LEGAL ACTION.

INJURIES:
If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.




IV. RELIEF
State briefly what money damages or other relief you want the court to order.

I respectfully request the court to award appropriate monetary damages for the suffering
and distress endured as a result of discrimination and sexual harassment, acknowledging
the profound impact on my well-being and seeking just compensation for the associated
harms.




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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.


Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

02/19/2024
Dated                                                   Plaintiff’s Signature
ALISHA                          N                       KENTON
First Name                     Middle Initial           Last Name
575 EXTERIOR ST APT 715
Street Address
BRONX, BRONX                                     NEW YORK                       10451
County, City                                    State                           Zip Code
845-741-5334                                            ALISHA_KENTON2008@YAHOO.COM
Telephone Number                                        Email Address (if available)




I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
‫܆‬
✔ Yes    ‫ ܆‬No

     If you do consent to receive documents electronically, submit the completed form with your
     complaint. If you do not consent, please do not attach the form.




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